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                                                                                          Stacy Cabrera
                                                                                     Converse TX 78109
                                                                                     September 6, 2022


Honorable Emmet G. Sullivan
United States District Court
For The District of Columbia
333 Constitution Avenue
Washington DC 20001

Dear Honorable Judge Sullivan,

My name is Stacy Michele Cabrera and I am the defendant in this case. Please allow me to share with
you and the court a little about myself.

I was born in Panama Ancon Canal Zone, Panama on April 13, 1973 to my American parents, Bruce
Michael Johnson, Sgt U.S. Army, and Donna Marie Johnson, then housewife. I don’t remember anything
about Panama, having been so young when we were there; my first childhood memories take place in
Oakland CA, where I lived with my mother and sister; my father was still active duty and away from
home at the time.

All things considered; I had a “normal” upbringing. Working parents, grandparents nearby, an older
sibling who wanted nothing to do with me (smiling), an aunt and lots of cousins. I assumed my
upbringing was normal, as back then, you did not talk about what happened at home. As an adult, I
acknowledge that maybe it wasn’t so normal after all.

My father was a physically abusive man; unable to contain his anger over much of anything. I can blame
his drug use; however, it’s my belief that some people just aren’t meant to be parents. As with my sister
and I, my mother was physically abused by my father. My mother also experienced verbal and sexual
abuse from him as well. It’s strange looking back, I didn’t know my mother was being abused and she
says she didn’t know my sister and I were being abused. I’m not sure I believe that. At any rate, for
some reason, I looked up to my father. Afterall, he served his Country during a time when doing so was
frowned upon. I thought that was incredibly honorable and wanted to know all his stories. And share
them, he did. He’d tell me about missions in Vietnam, about almost getting caught by the Viet Cong,
how he made a bracelet from his dead buddies’ boot laces in honor of their service. I think this was a
form of therapy for him, assuming I was too young to comprehend his words. To me, it was fascinating.
I wanted the small Army men and would mimic his stories with them during playtime.

Eventually, my parents separated in 1983. I remember asking my sister what mom had done to get the
beating she received the day it happened. Please understand, that if my father handed down
punishment to us, it was because we had done something wrong (in his eyes). Although he was my dad,
and I loved him very much, I was happy that the abuse would end with the separation. It was then that I
realized when my parents separated, my father separated himself from his children as well. I’d ask for
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“playdates”, for which he was always too busy. I’d ask him to attend my sporting events or milestone
graduations. He never lied about coming, he just didn’t show up. I was always disappointed, because I
wanted more than anything for my father to be proud of my accomplishments. I kept my
disappointments to myself as to not minimalize my mother’s efforts.

Fast forward to 1990. I was a Senior in High School and up to this point, my plan was to become a High
School English Teacher. I loved academics, and I loved the idea of being able to teach our future
generations. And then, Montel Williams (the talk show host) visited my senior class! He spoke about
retiring as a Naval Officer, but owed his life to the United States Marine Corps. He spoke about the
dignity, integrity, discipline and leadership skills he developed. He spoke fondly about the bonds he
created and the opportunities available to him because of it. I was hooked! After the ceremony, Mr.
Williams stayed a while to shoot baskets with the Varsity Girls Basketball team (which I was a part of). It
was such an honor just to be in his presence. I was so excited! I literally ran home to tell my mom…she
was less than pleased to say the least. Nonetheless, she conceded her support as long as I agreed to
finish out the school year with my class and spend the summer at home. After graduation she tells me
she will see me in a month, that I will never make it through bootcamp. Say no more, Mom. I guess it is
worth mentioning that after giving my father an ultimatum with forgetting I was born if he didn’t show
up, he attended my high school graduation.

October 7, 1991. U.S. Marine Corps Recruit Depot – Oakland CA.

Imagine my surprise when I’m the only female on the bus, heading to the airport to arrive at Marine
Corps Recruit Depot, Parris Island. All the boys on the bus are asking the girls which branch of the
military they were joining. A few said Army, there was 1 Navy but most were Air Force. When I was
asked which branch, I proudly stated the Marine Corps! Gasps all around. One bold sole asked me,
“why the Marine Corps?” My response… “Because they’re the BEST”. While I wasn’t the first female in
my family to join the military, I was the ONLY family member to join the Marines. I was proud of that.
I’d finally make my father proud - following in his footsteps, and let’s be honest; doing something he
either couldn’t or wouldn’t do – join the elite.

Despite the “preparation” from my father with his stories and my recruiter, who fluffed his version for
fear that I’d chicken out (he didn’t know me very well), bootcamp was a shocker. The drill instructors
were waiting for us the instant we stepped off the plane. Immediately yelling at us to “straighten your
sorry selves out”, “spit out your gum”, “don’t eyeball me, you unsat thing”. Whoa! What in the world
had I gotten myself into? Days were long, sleep was short and yelling was constant. Every month we
received pros & cons marks; proficiency and conduct markers for progress. My initial Pros & Cons after
the first month – all red. “Bad attitude, thinks she knows better, trouble listening to instruction – the list
went on. I couldn’t believe it. I’ve been following instructions my whole life lady! Been screamed at
and ‘abused’ my whole life by those that “care about me”. I’d be damned if I was going to sit back and
let strangers that didn’t care about me treat me poorly. Well, after the shock of my red marks wore off
and I truly thought about the words on those pages, I had a decision to make because going home was
not an option: I could continue to fight against the directives and receive negative reviews, or…I could
listen to those who’d already made it before me and follow their lead. I chose the latter and from that
moment, a Marine was being birthed. I won’t say that it was always easy, but trusting my drill
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instructors with them having my best interest at the forefront of my training, was what got me through.
Drill Instructor Sgt Cogburn took me under her wing and provided the training and tough love I needed
to be successful. I ended up graduating a squad leader and a rifleman in the graduating color guard.
Look out Marine Corps, here I come!

Duty stations and overseas tours came and went. I was promoted to Corporal before my 2-year mark. I
was proud. I was finally a leader of Marines. I followed directives and gave them, always with the
Corps’ mottos at the forefront, “Leadership by Example” and “Troop Welfare = Mission
Accomplishment”. Words to live by.

I met my daughter’s father at Camp Pendleton CA, after a tour in Japan. This was my one indiscretion in
the Corps. We were both separated from our spouses, neither of our divorce’s final. His separation was
less amicable than mine and we were both charged with disobeying a direct order by communicating
outside of work when we were told not to. I didn’t understand how I could be such a stellar Marine and
still be told who I could/couldn’t spend time with as long as it didn’t interfere with my leadership. I
quickly learned (again) that it didn’t matter if I understood it or not. You do what you’re told and you
don’t question authority – period. We’d gone against the directive and were punished for it. I came to
realize that while my actions may not have affected my ability to perform at the highest levels, I was
setting a poor example to my junior Marines by not following orders.

July 3, 1999. My last official day as an Active-Duty Marine. I was devastated. I didn’t have a back-up
plan. I always imagined retiring the world’s oldest female Marine; them burying me underneath a base
and renaming it after me. Life and motherhood (and scorned ex-spouses) had a way of changing plans.
When my ex-husband realized that I was attending joint counseling so we could be better co-parents
and not because I wanted to get back together, he decided that being a parent was too aligned with
being my spouse. He couldn’t do one without the other and I was left to raise my daughter alone. I was
ready to reenlist but would’ve been deployed again and with no one to care for my child; serving was no
longer an option for me.

I relocated to Scottsdale AZ with my then 2-year daughter (Taryn) and by accident and a favor to a
friend, ended up in Property Management. It was never my passion (you can take the Girl out of the
Corps, but you can never take the Corps out of the Girl), but I learned in the Marne Corps that if you’re
going to commit to something, commit 110% and be your best. So, in October 1999, I began my career
as a Community Manager and didn’t look back. I met my now husband, Rashad Cabrera in January 2000
and we’ve been together ever since.

In 2011, I was offered a position with Balfour Beatty Communities by a former senior representative
who was working with the company. He knew my love of the Military and knew I’d be exactly what he
needed for his Air Force Base in Santa Maria, CA (Vandenburg AFB). I discussed it with my husband and
we decided that it’d be a good move for our growing family. Our oldest (he loved my Taryn way before
he ever loved me) was 13, our daughter Aaliyah was 8 and our son Malik was just a year old.

Vandenberg was Heaven on Earth! I was SO happy to be “back home”. Around others who spoke and
carried themselves just like me, whose thought processes were parallel to mine. There’s something
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about the military lifestyle that you either love or hate and I finally felt like I belonged. Being a part of it
was almost as good as being in it. Almost.

I reported for duty on April 26, 2011 solo. The kids were still in school and my husband agreed to stay in
AZ long enough for them to complete the school year and then they’d join me. My children joined me in
June of 2011, but my husband stayed behind another 8 weeks, after agreeing to assist with the sale of
his property (he is also in Property Management). It was about this time when something just felt “off”;
both for myself and my son. My feet and legs were numb-feeling and tingly, at first, I chalked it up to
sleeping on an air mattress, or the severe weather change from AZ to CA, but those weren’t it. I went to
doctors and they suspected a Vitamin B deficiency and prescribed supplements – that didn’t work. I also
begin to notice that my son wasn’t meeting the most basic milestones. He didn’t make eye contact, he
wouldn’t hold a bottle, he could barely sit up on his own and he certainly wasn’t walking. More than
that, he had no vocabulary. During his 2-year-old well visit, I mentioned my concerns to his pediatrician.
She suspected something but at the age of 2, it was too early to adequately test for anything. She
prescribed occupational therapy but nothing seemed to help. Hearing tests, MRI’s, and various new test
studies later, my son was diagnosed with Non-verbal Autism and Intellectual Disabilities in May 2012. I
was heartbroken. Dreams of watching my son get into mischief, play sports, have girlfriends (or
boyfriends), go to prom and college were lost. We hired a full-time care provider to care for and work
with Malik 5-days a week. This was not covered by insurance and we paid the expense out of pocket.

For my health, I can’t remember which happened first, the Bells Palsy or the Brain swelling. I do
remember it was August 2012. I hadn’t been feeling well and my Boss (the same one who hired me)
allowed me to come in a little late to help with the constant headaches. I lived on base so it only took
me 3 minutes to get to work. I was showering and the next thing I knew, I was lying on the floor calling
for my son’s therapist. I asked her to call my Assistant and tell her I’d be a few minutes late (I was going
to work and you couldn’t stop me – I loved my job!). Needless to say, my Assistant called my Boss and
he instructed her to take me to the hospital. She did and hours later, I’d been told I had some type of
brain interruption that was causing the headaches, as well as affecting my vision and hearing. The next
day I went to an ophthalmologist who completed extensive eye tests. 3 days later (it was Sunday), the
E.R. doctor called my Husband and told him to bring me back to the E.R. immediately for swelling of the
brain. The pain was excruciating and I was terrified. I couldn’t be sick – not only did I have a job to do, I
had babies to raise (and hopefully grandbabies to spoil).

In September 2012, I was diagnosed with Multiple Sclerosis (MS). I was given medication to take and
had regularly scheduled Neurology appointments. It was during a routine MRI that my doctor noticed a
spot on my lungs that hadn’t been there during the previous MRI. In January 2013, after more testing, it
was discovered that I didn’t have MS, but Pulmonary and Neurological Sarcoidosis; an auto-immune
disease that mimics MS. Lots of medication and doctor appointments later, I was stabilized and able to
return to work, but not without some major life changes. Life now consists of bi-annual MRI’s, a cane
when I experience flare-ups, constant back pain, deteriorating vision and leg strength, medication and
supplements to try to stall the disease, and more medication and supplements to offset the side-effects.
I had an MRI in January 2022 where a new lesion was found in my brain. An MRI in August 2022 found
two new lesions on my spine. I have a last-minute appointment on September 7, 2022 to discuss new
medication, as the one I’ve been taking is no longer as effective as it once was.
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Because my Team and I had been so successful at Vandenberg AFB and after many failed new-hires at a
sister base; at the request of my Regional Vice President, I was sent to Lackland AFB in June 2013. I
should have known it’d be bad when I was told I couldn’t visit the base prior to relocating and I got a pay
increase (no one gets a pay raise going from CA to TX!). I wasn’t super excited about the transfer, but
ultimately agreed because I was told the resources for my son were much better and they needed “me”
to. I went because I was asked to go.

If Vandenberg was a well-oiled machine; a team that worked together as one unit, Lackland was – the
polar opposite. Old housing or new housing – it didn’t matter, were poorly maintained. The team as a
whole was understaffed and there was no Office leadership. Maintenance was left to their own devices
and everyone was an individual. I worked tirelessly to build a team both within the office and in
maintenance. It took a lot of hard work, but I believe I made progress.

During my tenure at Lackland, we were required to complete the same reports as at Vandenberg;
however, with the constant turnover in maintenance, it was a challenge to meet the stringent work
order completion times. After submitting the reports to our corporate office on several occasions, I was
instructed by my superiors to change the completion times and/or dates on the work orders to ensure
we hit our benchmarks on quarterly reporting.

Since leaving Lackland AFB, I’ve maintained steady employment within the Property Management field
San Antonio TX, where I have remained in good standing; able to be the primary financial provider for
my family.

As you can see, throughout my entire life, it’s been drilled into me that you don’t ask questions or more
accurately, not to question authority. I was taught this by my father. This was reinforced in my Marine
Corps career and it’s held true with my past and current employers. I have even adopted my own
version of this and share it with my own employees: unless it is illegal, immoral, or unethical, you must
follow instruction. I didn’t recognize I was doing anything illegal, immoral, or unethical. I was following
orders. I thought when I was approached by the Air Force Agents, I cooperated fully and thought my
actions were in line with a Whistleblower. I did not benefit from these acts, either monetarily or
otherwise. I realize now that just because my actions weren’t committed with malice intent, it doesn’t
mean I haven’t done anything wrong. I am deeply sorry that I did not use better judgement to do what
was right instead of what I was told.

I have spent immeasurable amounts of time wishing I’d made a different choice, but I cannot change my
past actions. I can only make a conscious effort to make better decisions based on what is right going
forward. I’ve considered how my actions may remove me from my home; away from my husband and
children but especially my son. How this will affect his growth and well-being; how it will affect my
health. How absolutely terrified I am of going away. Thinking of all these things constantly has been a
sentence all its own.
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I don’t believe incarcerating me is going to right this wrong. I am an honest person, who does good and
provides support to those in need. I love my family, my friends, my peers and employees – my job and
my Country! I believe incarceration will do more harm than good.

Thank you for taking the time to get to know me. It is with great humility that I ask you to please take all
this information into account when determining my sentence.


Sincerely & Respectfully,




Stacy Michele Cabrera
